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 Fill in this information to identify the case:

 Debtor name         Watson Valve Services, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         20-30968
                                                                                                                                
                                                                                                                                  Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        
                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule       Schedule A/B and Schedule E/F
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on                                                  X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Robert White
                                                                         Printed name

                                                                         Chief Operating Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
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 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 'HEWRUQDPH          :DWVRQ9DOYH6HUYLFHV,QF

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH            6287+(51',675,&72)7(;$6

 &DVHQXPEHU LINQRZQ          
                                                                                                                                  
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                                                                                                                                        amended filing




2IILFLDO)RUP$%
6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                                                                                        
'LVFORVHDOOSURSHUW\UHDODQGSHUVRQDOZKLFKWKHGHEWRURZQVRULQZKLFKWKHGHEWRUKDVDQ\RWKHUOHJDOHTXLWDEOHRUIXWXUHLQWHUHVW
,QFOXGHDOOSURSHUW\LQZKLFKWKHGHEWRUKROGVULJKWVDQGSRZHUVH[HUFLVDEOHIRUWKHGHEWRU VRZQEHQHILW$OVRLQFOXGHDVVHWVDQGSURSHUWLHV
ZKLFKKDYHQRERRNYDOXHVXFKDVIXOO\GHSUHFLDWHGDVVHWVRUDVVHWVWKDWZHUHQRWFDSLWDOL]HG,Q6FKHGXOH$%OLVWDQ\H[HFXWRU\FRQWUDFWV
RUXQH[SLUHGOHDVHV$OVROLVWWKHPRQSchedule G: Executory Contracts and Unexpired Leases 2IILFLDO)RUP* 

%HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP$WWKHWRSRIDQ\SDJHVDGGHGZULWH
WKHGHEWRU¶VQDPHDQGFDVHQXPEHU LINQRZQ $OVRLGHQWLI\WKHIRUPDQGOLQHQXPEHUWRZKLFKWKHDGGLWLRQDOLQIRUPDWLRQDSSOLHV,IDQ
DGGLWLRQDOVKHHWLVDWWDFKHGLQFOXGHWKHDPRXQWVIURPWKHDWWDFKPHQWLQWKHWRWDOIRUWKHSHUWLQHQWSDUW

 )RU3DUWWKURXJK3DUWOLVWHDFKDVVHWXQGHUWKHDSSURSULDWHFDWHJRU\RUDWWDFKVHSDUDWHVXSSRUWLQJVFKHGXOHVVXFKDVDIL[HGDVVHW
 VFKHGXOHRUGHSUHFLDWLRQVFKHGXOHWKDWJLYHVWKHGHWDLOVIRUHDFKDVVHWLQDSDUWLFXODUFDWHJRU\/LVWHDFKDVVHWRQO\RQFH,QYDOXLQJWKH
 GHEWRU¶VLQWHUHVWGRQRWGHGXFWWKHYDOXHRIVHFXUHGFODLPV6HHWKHLQVWUXFWLRQVWRXQGHUVWDQGWKHWHUPVXVHGLQWKLVIRUP
 3DUW      &DVKDQGFDVKHTXLYDOHQWV
'RHVWKHGHEWRUKDYHDQ\FDVKRUFDVKHTXLYDOHQWV"

      1R*RWR3DUW
      <HV)LOOLQWKHLQIRUPDWLRQEHORZ
      $OOFDVKRUFDVKHTXLYDOHQWVRZQHGRUFRQWUROOHGE\WKHGHEWRU                                                                    &XUUHQWYDOXHRI
                                                                                                                                        GHEWRU VLQWHUHVW

          &KHFNLQJVDYLQJVPRQH\PDUNHWRUILQDQFLDOEURNHUDJHDFFRXQWV (Identify all)
            1DPHRILQVWLWXWLRQ EDQNRUEURNHUDJHILUP          7\SHRIDFFRXQW                             /DVWGLJLWVRIDFFRXQW
                                                                                                             QXPEHU
                     7H[DV&DSLWDO%DQN2SHUDWLQJ
                 $FFRXQW                                                &KHFNLQJ                                                         



                     7H[DV&DSLWDO%DQN&KLQD3URMHFW
                 $FFRXQW                                                &KHFNLQJ                                                         




                 &RPSDVV%DQN2SHUDWLQJ$FFRXQW                       &KHFNLQJ                                                             



                     7H[DV&DSLWDO%DQN5XVVLD3URMHFW
                 $FFRXQW                                                &KHFNLQJ                                                                    



          2WKHUFDVKHTXLYDOHQWV (Identify all)

          7RWDORI3DUW                                                                                                                  
            $GGOLQHVWKURXJK LQFOXGLQJDPRXQWVRQDQ\DGGLWLRQDOVKHHWV &RS\WKHWRWDOWROLQH

 3DUW           'HSRVLWVDQG3UHSD\PHQWV
'RHVWKHGHEWRUKDYHDQ\GHSRVLWVRUSUHSD\PHQWV"

      1R*RWR3DUW
      <HV)LOOLQWKHLQIRUPDWLRQEHORZ
2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                              SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                              %HVW&DVH%DQNUXSWF\
                          Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 3 of 114

 'HEWRU            :DWVRQ9DOYH6HUYLFHV,QF                                                       &DVHQXPEHU(If known) 
                   1DPH

          'HSRVLWVLQFOXGLQJVHFXULW\GHSRVLWVDQGXWLOLW\GHSRVLWV
            'HVFULSWLRQLQFOXGLQJQDPHRIKROGHURIGHSRVLW

          3UHSD\PHQWVLQFOXGLQJSUHSD\PHQWVRQH[HFXWRU\FRQWUDFWVOHDVHVLQVXUDQFHWD[HVDQGUHQW
            'HVFULSWLRQLQFOXGLQJQDPHRIKROGHURISUHSD\PHQW


                 3UHSDLG,QVXUDQFH$O7KXUPRQG$JHQF\,QF                                                                               




                 (TXLSPHQW'HSRVLW'XQQ V7HVWLQJ                                                                                          




          7RWDORI3DUW                                                                                                                
            $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

 3DUW           $FFRXQWVUHFHLYDEOH
 'RHVWKHGHEWRUKDYHDQ\DFFRXQWVUHFHLYDEOH"

       1R*RWR3DUW
       <HV)LOOLQWKHLQIRUPDWLRQEHORZ
         $FFRXQWVUHFHLYDEOH
            DGD\VROGRUOHVV                                                                                   
                                              IDFHDPRXQW                              GRXEWIXORUXQFROOHFWLEOHDFFRXQWV




            E2YHUGD\VROG                                                                                                
                                              IDFHDPRXQW                              GRXEWIXORUXQFROOHFWLEOHDFFRXQWV



         7RWDORI3DUW                                                                                                              
            &XUUHQWYDOXHRQOLQHVDE OLQH&RS\WKHWRWDOWROLQH

 3DUW           ,QYHVWPHQWV
 'RHVWKHGHEWRURZQDQ\LQYHVWPHQWV"

       1R*RWR3DUW
       <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW           ,QYHQWRU\H[FOXGLQJDJULFXOWXUHDVVHWV
 'RHVWKHGHEWRURZQDQ\LQYHQWRU\ H[FOXGLQJDJULFXOWXUHDVVHWV "

       1R*RWR3DUW
       <HV)LOOLQWKHLQIRUPDWLRQEHORZ
            *HQHUDOGHVFULSWLRQ                       'DWHRIWKHODVW              1HWERRNYDOXHRI         9DOXDWLRQPHWKRGXVHG    &XUUHQWYDOXHRI
                                                      SK\VLFDOLQYHQWRU\            GHEWRU VLQWHUHVW         IRUFXUUHQWYDOXH        GHEWRU VLQWHUHVW
                                                                                     :KHUHDYDLODEOH

         5DZPDWHULDOV
            5DZ0DWHULDOV9DOYHV                                                                                                        



         :RUNLQSURJUHVV


2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                          SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                            %HVW&DVH%DQNUXSWF\
                       Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 4 of 114

 'HEWRU         :DWVRQ9DOYH6HUYLFHV,QF                                                      &DVHQXPEHU(If known) 
                1DPH

           :RUNLQSURJUHVV ZLOO
           VXSSOHPHQWXSRQ
           DFFHVVDQG
           GHWHUPLQDWLRQRI
           FRQGLWLRQ                                                                                                              8QNQRZQ



        )LQLVKHGJRRGVLQFOXGLQJJRRGVKHOGIRUUHVDOH

        2WKHULQYHQWRU\RUVXSSOLHV

        7RWDORI3DUW                                                                                                                
           $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

        ,VDQ\RIWKHSURSHUW\OLVWHGLQ3DUWSHULVKDEOH"
            1R
            <HV
        +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQSXUFKDVHGZLWKLQGD\VEHIRUHWKHEDQNUXSWF\ZDVILOHG"
            1R
            <HV%RRNYDOXH                                         9DOXDWLRQPHWKRG                       &XUUHQW9DOXH

        +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
            1R
            <HV
 3DUW        )DUPLQJDQGILVKLQJUHODWHGDVVHWV RWKHUWKDQWLWOHGPRWRUYHKLFOHVDQGODQG
 'RHVWKHGHEWRURZQRUOHDVHDQ\IDUPLQJDQGILVKLQJUHODWHGDVVHWV RWKHUWKDQWLWOHGPRWRUYHKLFOHVDQGODQG "

     1R*RWR3DUW
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW        2IILFHIXUQLWXUHIL[WXUHVDQGHTXLSPHQWDQGFROOHFWLEOHV
 'RHVWKHGHEWRURZQRUOHDVHDQ\RIILFHIXUQLWXUHIL[WXUHVHTXLSPHQWRUFROOHFWLEOHV"

     1R*RWR3DUW
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ
           *HQHUDOGHVFULSWLRQ                                                   1HWERRNYDOXHRI      9DOXDWLRQPHWKRGXVHG      &XUUHQWYDOXHRI
                                                                                 GHEWRU VLQWHUHVW      IRUFXUUHQWYDOXH          GHEWRU VLQWHUHVW
                                                                                  :KHUHDYDLODEOH

        2IILFHIXUQLWXUH
           2IILFH)XUQLWXUH )L[WXUHV6HHDWWDFKHG
           ([KLELW                                                                                                                       8QNQRZQ



        2IILFHIL[WXUHV
           /HDVHKROG,PSURYHPHQWV6HHDWWDFKHG
           ([KLELW                                                                                                                 8QNQRZQ



        2IILFHHTXLSPHQWLQFOXGLQJDOOFRPSXWHUHTXLSPHQWDQG
           FRPPXQLFDWLRQV\VWHPVHTXLSPHQWDQGVRIWZDUH
           *OREDO6KRS6ROXWLRQV(53                                                                                               



        &ROOHFWLEOHVExamples$QWLTXHVDQGILJXULQHVSDLQWLQJVSULQWVRURWKHUDUWZRUN
           ERRNVSLFWXUHVRURWKHUDUWREMHFWVFKLQDDQGFU\VWDOVWDPSFRLQRUEDVHEDOOFDUG
2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                      SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                        %HVW&DVH%DQNUXSWF\
                       Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 5 of 114

 'HEWRU         :DWVRQ9DOYH6HUYLFHV,QF                                                   &DVHQXPEHU(If known) 
                1DPH

            FROOHFWLRQVRWKHUFROOHFWLRQVPHPRUDELOLDRUFROOHFWLEOHV


         7RWDORI3DUW                                                                                                             
            $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

         ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW"
            1R
             <HV
         +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
             1R
             <HV
 3DUW        0DFKLQHU\HTXLSPHQWDQGYHKLFOHV
 'RHVWKHGHEWRURZQRUOHDVHDQ\PDFKLQHU\HTXLSPHQWRUYHKLFOHV"

     1R*RWR3DUW
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ
            *HQHUDOGHVFULSWLRQ                                               1HWERRNYDOXHRI      9DOXDWLRQPHWKRGXVHG      &XUUHQWYDOXHRI
            ,QFOXGH\HDUPDNHPRGHODQGLGHQWLILFDWLRQQXPEHUV             GHEWRU VLQWHUHVW      IRUFXUUHQWYDOXH          GHEWRU VLQWHUHVW
             LH9,1+,1RU1QXPEHU                                       :KHUHDYDLODEOH

         $XWRPRELOHVYDQVWUXFNVPRWRUF\FOHVWUDLOHUVDQGWLWOHGIDUPYHKLFOHV

                )RUG)                                                                                             



         :DWHUFUDIWWUDLOHUVPRWRUVDQGUHODWHGDFFHVVRULHVExamples: %RDWVWUDLOHUVPRWRUV
            IORDWLQJKRPHVSHUVRQDOZDWHUFUDIWDQGILVKLQJYHVVHOV

         $LUFUDIWDQGDFFHVVRULHV


         2WKHUPDFKLQHU\IL[WXUHVDQGHTXLSPHQW H[FOXGLQJIDUP
            PDFKLQHU\DQGHTXLSPHQW
            0DFKLQHU\ (TXLSPHQW6HH$WWDFKHG
            ([KLELW                                                                                                              8QNQRZQ




         7RWDORI3DUW                                                                                                          
            $GGOLQHVWKURXJK&RS\WKHWRWDOWROLQH

         ,VDGHSUHFLDWLRQVFKHGXOHDYDLODEOHIRUDQ\RIWKHSURSHUW\OLVWHGLQ3DUW8"
            1R
             <HV
         +DVDQ\RIWKHSURSHUW\OLVWHGLQ3DUWEHHQDSSUDLVHGE\DSURIHVVLRQDOZLWKLQWKHODVW\HDU"
             1R
             <HV
 3DUW        5HDOSURSHUW\
 'RHVWKHGHEWRURZQRUOHDVHDQ\UHDOSURSHUW\"

     1R*RWR3DUW
     <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW       ,QWDQJLEOHVDQGLQWHOOHFWXDOSURSHUW\
 'RHVWKHGHEWRUKDYHDQ\LQWHUHVWVLQLQWDQJLEOHVRULQWHOOHFWXDOSURSHUW\"
2IILFLDO)RUP$%                                          6FKHGXOH$%$VVHWV5HDODQG3HUVRQDO3URSHUW\                                   SDJH
6RIWZDUH&RS\ULJKW F %HVW&DVH//&ZZZEHVWFDVHFRP                                                                     %HVW&DVH%DQNUXSWF\
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 'HEWRU         :DWVRQ9DOYH6HUYLFHV,QF                                                  &DVHQXPEHU(If known) 
                1DPH



    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ

 3DUW       $OORWKHUDVVHWV
'RHVWKHGHEWRURZQDQ\RWKHUDVVHWVWKDWKDYHQRW\HWEHHQUHSRUWHGRQWKLVIRUP"
    ,QFOXGHDOOLQWHUHVWVLQH[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHVQRWSUHYLRXVO\UHSRUWHGRQWKLVIRUP

    1R*RWR3DUW
    <HV)LOOLQWKHLQIRUPDWLRQEHORZ
                                                                                                                               &XUUHQWYDOXHRI
                                                                                                                               GHEWRU VLQWHUHVW


         1RWHVUHFHLYDEOH
            'HVFULSWLRQ LQFOXGHQDPHRIREOLJRU

         7D[UHIXQGVDQGXQXVHGQHWRSHUDWLQJORVVHV 12/V
            'HVFULSWLRQ IRUH[DPSOHIHGHUDOVWDWHORFDO

         ,QWHUHVWVLQLQVXUDQFHSROLFLHVRUDQQXLWLHV
            &DWOLQ6SHFLDOW\,QVXUDQFH&R&RPPHUFLDO*HQHUDO
            /LDELOLW\3ROLF\1R86/$                                                                                     


            8QLWHG)LUH/OR\GV$XWRPRELOH/LDELOLW\3ROLF\1R
                                                                                                                              


            &DWOLQ6SHFLDOW\,QVXUDQFH&R8PEUHOOD3ROLF\1R
            86/,$                                                                                                         


            7H[DV0XWXDO,QVXUDQFH:RUNHUV&RPSHQVDWLRQDQG
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         2WKHUFRQWLQJHQWDQGXQOLTXLGDWHGFODLPVRUFDXVHVRIDFWLRQRI
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                       Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 7 of 114

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                         Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 8 of 114

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  &DVKFDVKHTXLYDOHQWVDQGILQDQFLDODVVHWV
     Copy line 5, Part 1                                                                                          

  'HSRVLWVDQGSUHSD\PHQWVCopy line 9, Part 2.                                                               

  $FFRXQWVUHFHLYDEOHCopy line 12, Part 3.                                                                 

  ,QYHVWPHQWVCopy line 17, Part 4.                                                                                      

  ,QYHQWRU\Copy line 23, Part 5.                                                                                

  )DUPLQJDQGILVKLQJUHODWHGDVVHWVCopy line 33, Part 6.                                                               

  2IILFHIXUQLWXUHIL[WXUHVDQGHTXLSPHQWDQGFROOHFWLEOHV
     Copy line 43, Part 7.                                                                                          

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                   Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 9 of 114


                    Office Furniture & Fixtures - Depreciation Schedule as of 09.30.2019
Asset IDLocation                 Description
                              7 Private Office Desk 1
                              8 Private Office Desk 2
                              9 Private Office Desk 3
                             10 Exec Chair 1
                             11 Exec Chair 2
                             12 Exec Chair 3
                             13 Side Chair 1
                             14 Side Chair 2
                             15 Side Chair 3
                             16 Side Chair 4
                             17 Side Chair 5
                             18 Side Chair 6
                             19 Mahogany Reception Desk
                             20 Hon Pneumatic Swival Chair
                             21 Double Ped
                                 Desk-Shop Office
                             22 Hon Oak/Putty
                                 Pneumatic
                                 Chair-Shop Office
                             23 Hon Guest Chair
                                 1-Claret Burgundy
                             24 Hon Guest Chair
                                 2-Claret Burgundy
                             25 Wood Side Arm
                                 Chair 1-Waiting
                                 Room
                             26 Wood Side Arm
                                 Chair 2-Waiting
                                 Room
                             27 Mahogany Wood
                                 Finish Occasional
                                 Table
                             28 Boat Shaped
                                 Mohagany
                                 Conference Table
                             29 Conf Chair 1
                             30 Conf Chair 2
                             31 Conf Chair 3
                             32 Conf Chair 4
                             33 Conf Chair 5
                             34 Conf Chair 6
                             35 Used 3 Drawer File Cabinet 1
                             36 Used 3 Drawer File Cabinet 2
                             37 Used Break Room Table
Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 10 of 114


       38   Installation of Furniture
       40   MetalShelving/Bins-Clara Rd
       43   Extra Large Nesting Totes 17/14 x 11x8
       44   Extra Large Nesting
            Totes 23 3/4 x 17 1/4
            x8
       46   Premium Stacking
            Bins
       48   Upright Shelving
            from Shelving
            Concepts
       53   Refrigerator for Clara
            Rd
       60   Extra Large Nesting
            Tote
       61   Premium Stacking
            Bins
       63   Mobile Security LCD
            Computer Cabinet
            and AC Fan Kit
       64   Premium Stacking
            Bin
       65   Three AC Fan Kits for Computer Security Cabinet
       68   Premium Stacking Bins
       69   Extra Large Nesting Totes
       75   Trade Show Display from MOD Displays
       77   Security Camera Equipment
       85   Teardrop Upright 144 x 42 x 2 9/16Vertical Shelving
       86   Teardrop Beams 96x 4 x 1 5/8
       87   Wire Deck 42 x 46 FW
       88   Office Furniture - Kelly Watson
       98   Window Blinds for 4514 Steffani)
      115   ScanSnap Desktop Scanner #3
      116   ScanSnap Desktop Scanner #4
      117   ScanSnap Desktop Scanner #5
      118   Fujitsu Scan Snap
      119   Fijitsu Scanner
      120   Trendnet TEG-MGBSCMultiMode
      121   APC UPS Battery for Battery Backup
      122   Cisco Ethernet Switch
      123   StarTec Model ISAS88702 External Serial Attached SCSI SAS Cable
      124   HP Photosmart Wireless Printer
      125   20" Flatscreen Monitor & Speaker
      126   Wall Signs for Restrooms (4514 Steffani)
      127   Used Credenza - #1
      128   Used Credenza - #2
      131   Used Desk - #1
      132   Used Desk - #2
      145   Metal Shelving from Warehouse Rack
                                         Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 11 of 114


                                                     146 Security Equipment from 123Security Productions.com

NOTE: Asset schedules have been derived from 09/30/2019 fixed asset depreciation schedules. Net asset values cannot be readily determined as of the current date.
Whereas the existence and or condition of assets cannot be determined through physical inspection and or inventory and whereas net realizable asset values may be
  determined through proceeds of insurance settlement it is deemed for the purposes of this schedule that the net asset value as of the current date is unknown.
                                       Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 12 of 114


                                              Leasehold Improvements - Depreciation Schedule as of 09.30.2019
Asset IDLocation                                    Description
                                                 39 Security Alarm System-Clara Rd
                                                 41 Sign for Clara Road
                                                 89 Fabrication and Installation of Illuminated Building Sign for WVS
                                                 90 A/C System - #1 (4514 Steffani)
                                                 91 A/C Sytem #2 (4514 Steffani)
                                                 92 A/C System - #3 (4514 Steffani)
                                                 93 A/C System - #4 - (4514 Steffani)
                                                 94 A/C System #5(4514 Steffani)
                                                 95 A/C System #6(4514 Steffani)
                                                 96 Alarm System (4514 Steffani)
                                                 97 Bathroom Cabinetry & Countertops (4514 Steffani)
                                                100 Landscaping (4514 Steffani)
                                                101 Rock & Ashpalt Parking Lot (4514 Steffani)
                                                102 Sprinkler System for 4514 Steffani)
                                                103 Fiber Optics & Cabling - (4514 Steffani)
                                                104 Locks/Keys (4514 Steffani)
                                                105 Construction/Buildou t/Make Ready - 4514 Steffani
                                                143 Construction Work - Valve Shop
                                                144 Construction Work - New Valve Shop
                                                148 Concrete Walkway Between Buildings
                                                150 New Security Gate

NOTE: Asset schedules have been derived from 09/30/2019 fixed asset depreciation schedules. Net asset values cannot be readily determined as of the current date.
Whereas the existence and or condition of assets cannot be determined through physical inspection and or inventory and whereas net realizable asset values may be
  determined through proceeds of insurance settlement it is deemed for the purposes of this schedule that the net asset value as of the current date is unknown.
                   Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 13 of 114


                           Machinery & Equipment - Depreciation Schedule as of 09.30.2019
Asset IDLocation                        Description
                                      1 Investment Pattern
                                      2 Cope & Drag Wood
                                        Pattern
                                      3 Loose -Mounted
                                        Pattern
                                      4 Copy & Drag Wood
                                        Pattern
                                      5 Loose - Mounted
                                        Wood Pattern
                                      6 Cope & Drag Pattern
                                     42 Electric Pipe
                                        Threader
                                     54 One LeBlond Lathe
                                     55 15HP AirCompressor from Grainger
                                     57 New Lathe
                                     59 Drip Pan for Machinery
                                     67 Abrasive Warehouse Blast Cabinet
                                     71 9 x 20'" 3/4 HP 1PH115V Belt Drive Bench Lathe
                                     72 2XLCT Power Head w/Attachments
                                     73 Gates Monarch Lathe
                                     74 Cincinnati Python Lathe S/N#CM0065
                                     76 Hydraulic Press
                                     78 One Auma Actuator
                                     79 Low Clearnace Bolting Machine (SN
                                        S8F1320-67)
                                     80 3 1/8" Stealth8 Ratchet Link
                                     81 3 3/4" Ratchet Link F/ ST8 #10
                                     82 2 3/4" Ratchet Link STEALTH8
                                     83 D Module Assy Standard
                                   140 Electric Air Compress, 2 Stage,1.5 HP
                                   141 Reconditioned CAT Electric Reach Truck
                                   142 2010 Club Car (SN:AG1040-135177)
                                   147 Broken Forklift Repair
                                   149 Electric Air Compressor, 2 Stage
                                   151 Portable Hydraulic Power Unit - 12V, Two Circuits
                                   152 P5000 Marking Machine
                                   153 Model Optim Indicator (SNAC20150525040)
                                   154 Marking System from SIC Marking USA
                                     Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 14 of 114


                                                               155 Used Abrasive Blast Systems Cabinet
NOTE: Asset schedules have been derived from 09/30/2019 fixed asset depreciation schedules. Net asset values cannot be readily determined as of the current date. Whereas
the existence and or condition of assets cannot be determined through physical inspection and or inventory and whereas net realizable asset values may be determined through
                   proceeds of insurance settlement it is deemed for the purposes of this schedule that the net asset value as of the current date is unknown.
                                      Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 15 of 114


                                             Vehicles - Depreciation Schedule as of 09.30.2019
Asset IDLocation                                       Description
                                                 156 2013 Ford F45 (VIN 1FDUF4GT7DEB525 94)

NOTE: Asset schedules have been derived from 09/30/2019 fixed asset depreciation schedules. Net asset values cannot be readily determined as
 of the current date. Whereas the existence and or condition of assets cannot be determined through physical inspection and or inventory and
whereas net realizable asset values may be determined through proceeds of insurance settlement it is deemed for the purposes of this schedule
                                          that the net asset value as of the current date is unknown.
                       Case 20-30968 Document 159 Filed in TXSB on 04/29/20 Page 16 of 114

 Fill in this information to identify the case:

 Debtor name         Watson Valve Services, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)          20-30968
                                                                                                                                          
                                                                                                                                            Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,840.00        $3,840.00
           Benito Sanchez Jr                                         Check all that apply.
           8810 Driftstone Dr                                         Contingent
           Spring, TX 77379                                           Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,600.00        $3,600.00
           Gerardo Barrerra                                          Check all that apply.
           2615 Hartwick                                              Contingent
           Houston, TX 77093                                          Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Accrued PTO
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 99
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 Debtor       Watson Valve Services, Inc.                                                                     Case number (if known)   20-30968
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,923.07    $1,923.07
          Hao Vo                                                     Check all that apply.
          10210 Harfield Bluff Ln                                     Contingent
          Cypress, TX 77433                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Harris County Pollution Control                            Check all that apply.
          Services                                                    Contingent
          101 South Richey, Suite H                                   Unliquidated
          Pasadena, TX 77506                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          Harris County Tax                                          Check all that apply.
          Assessor-Collector                                          Contingent
          1001 Preston                                                Unliquidated
          PO Box 4089                                                 Disputed
          Houston, TX 77210
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,692.31    $3,692.31
          Henry Garza Jr                                             Check all that apply.
          2907 Robertson                                              Contingent
          Houston, TX 77009                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 99
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 Debtor       Watson Valve Services, Inc.                                                                     Case number (if known)   20-30968
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      $0.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operation                            Contingent
          Post Office Box 7346                                        Unliquidated
          Philadelphia, PA 19101-7346                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,923.08    $6,923.08
          Jason White                                                Check all that apply.
          21861 Old Oak Way                                           Contingent
          Hockley, TX 77447                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,230.76    $3,230.76
          John Lichenstein Jr                                        Check all that apply.
          4816 CR 286                                                 Contingent
          Bay City, TX 77414                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,076.92    $8,076.92
          John Watson                                                Check all that apply.
          4002 Chatham Lane                                           Contingent
          Houston, TX 77027                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 99
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 Debtor       Watson Valve Services, Inc.                                                                     Case number (if known)   20-30968
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,961.54    $1,961.54
          Matthew Snow                                               Check all that apply.
          16111 Woodbend Trail                                        Contingent
          Houston, TX 77070                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,461.54    $3,461.54
          Richard Bell                                               Check all that apply.
          9111 Restover Ln                                            Contingent
          Houston, TX 77064                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,692.31    $2,692.31
          Rifka Abudaram                                             Check all that apply.
          7627 Ikes Pond Dr                                           Contingent
          Spring, TX 77389                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,923.08    $6,923.08
          Robert White                                               Check all that apply.
          27440 Waller Spring Creek Rd.                               Contingent
          Hockley, TX 77447                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 99
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 Debtor       Watson Valve Services, Inc.                                                                     Case number (if known)   20-30968
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,640.00    $2,640.00
          Sergio Gonzalez                                            Check all that apply.
          6349 Austinville Dr                                         Contingent
          Katy, TX 77449                                              Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Accrued PTO
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Texas Commission on                                        Check all that apply.
          Environmental Qualit                                        Contingent
          2309 Gravel Dr                                              Unliquidated
          Fort Worth, TX 76118
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $12,000.00    $12,000.00
          Texas Comptroller of Public                                Check all that apply.
          Accounts                                                    Contingent
          Lyndon B. Johnson State Office                              Unliquidated
          Building                                                    Disputed
          111 East 17th Street
          Austin, TX 78774
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Margin Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Texas Secretary of State                                   Check all that apply.
          PO Box 13697                                                Contingent
          Austin, TX 78711                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor        Watson Valve Services, Inc.                                                                    Case number (if known)          20-30968
               Name

 2.19       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       Unknown    Unknown
            Texas Workforce Commission                               Check all that apply.
            101 E 15th St, Rm 370                                     Contingent
            Austin, TX 78778                                          Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           4 Candy Vending Machinees
           c/o Good Games Investments                                                Contingent
           10300 Katy Freeway                                                        Unliquidated
           Suite 547                                                                 Disputed
           Houston, TX 77043
                                                                                   Basis for the claim:     Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           A Plus Glass Services, Inc.
           c/o Stutman Law                                                           Contingent
           5068 W. Plano Parkway                                                     Unliquidated
           Suite 260                                                                 Disputed
           Plano, TX 75093
                                                                                   Basis for the claim:     Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Abel Martinez
           c/o KWOK Daniel Ltd, LLP                                                 Contingent
           9805 Katy Freeway                                                        Unliquidated
           Suite 850                                                                Disputed
           Houston, TX 77024
                                                                                   Basis for the claim:     Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Abigail Hernandez
           c/o KWOK Daniel Ltd, LLP                                                 Contingent
           9805 Katy Freeway                                                        Unliquidated
           Suite 850                                                                Disputed
           Houston, TX 77024
                                                                                   Basis for the claim:     Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Accroseal                                                           Contingent
          316 Briggs Street                                                   Unliquidated
          Vicksburg, MI 49097                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $67.34
          Ace Electronics                                                     Contingent
          3210 Antoine Dr                                                     Unliquidated
          Houston, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Adam Ontoya-Torres
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Adan Salmeron
          c/o Columbia Lloyds Insurance Company                                Contingent
          2200 W Alabama St                                                    Unliquidated
          #210                                                                 Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Adan Trujillo
          c/o Charles J. Argento & Associates                                  Contingent

          1111 North Loop WestSuite 715                                      Unliquidated

          Houston, TX 77008                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $94,663.80
          Afco                                                                Contingent
          5600 North River Road                                               Unliquidated
          Suite 400                                                           Disputed
          Des Plaines, IL 60018
                                                                             Basis for the claim: Commercial Premium Finance Agreement -
          Date(s) debt was incurred
                                                                             Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Agnex Panong
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,387.00
          AIV, LPL                                                            Contingent
          7140 W. Sam Houston Pkwy N                                          Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77040
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Albano Hoxhaj                                                         Contingent
          c/o AAA Texas
          3307 Sage Rd
                                                                                Unliquidated

          Houston, TX 77056                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alex Jonischkies
          c/o Butler Weihmuller Katz Craig LLP                                  Contingent
          18383 Preston Road                                                    Unliquidated
          Suite 400                                                             Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alfonso Rodriguez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alison Long
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Alvaro Mendieta
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Am Trust Lond Global Indemnity Group
                                             c/
          o Cozen O'Connor                                                     Contingent
          1221 McKinney St                                                     Unliquidated
          Suite 2900                                                           Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Amado Anguiano
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Amber Lane
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Amber Lane
          c/o Stutman Law                                                      Contingent
          5068 W. Plano Parkway                                                Unliquidated
          Suite 260                                                            Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Amelia Diosdado
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,572.55
          American Express                                                    Contingent
          Three World Financial Center                                        Unliquidated
          200 Vesey S                                                         Disputed
          New York, NY 10285
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,260.00
          American Heli-Arc                                                   Contingent
          5009 Pinemont Dr                                                    Unliquidated
          Houston, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          AmRisc
          c/o Cozen O'Connor                                                   Contingent
          1221 McKinney St                                                     Unliquidated
          Suite 2900                                                           Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $572,241.86
          AMUR HMP, LLC                                                       Contingent
          5, Mashinostroiteliei Shosse, Amursk
          Khabarovsk Krai, The Russian Federation
                                                                              Unliquidated
          682640                                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Contract
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ana Castro                                                           Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ana Luisa Singu
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ana Moss                                                             Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                               Unliquidated

          Houston, TX 77092                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ana Sarpas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anabell Peregrino Perez                                              Contingent
          c/o State Farm, Stephanie Moreno
                                         PO
          Box 106169
                                                                               Unliquidated

          Atlanta, GA 30348                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andrea Horton
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andres Alvarado
          c/o Triplett Law Firm                                                Contingent
          1511 Bingle Rd                                                       Unliquidated
          #1                                                                   Disputed
          Houston, TX 77055
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andres Gomez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Andres Unriostegui
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angel Olvera
          c/o Anthony Peterson, LLP                                           Contingent
          500 North Water Street                                              Unliquidated
          Suite 1000                                                          Disputed
          Corpus Christi, TX 78401
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
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 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angela Calderon
          c/o Triplett Law Firm                                                 Contingent
          1511 Bingle Rd                                                        Unliquidated
          #1                                                                    Disputed
          Houston, TX 77055
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angela McIver
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St                                                     Unliquidated
          #210                                                                  Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angelina Sandoval
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angeline Garza
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Angie Burgeshults                                                     Contingent
          c/o State Farm, Allen Robertson
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ann Rawlinson
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anna Juarez                                                         Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Annie Tyler
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anthony Howard, Jr.
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anthony Uriostegui
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Antonio Munoz                                                        Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Antorion Avitia                                                     Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Armin Denic
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arnold Ballinger
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Art Foundry Carpino d/b/a Mike Carpino
                                                                                Contingent
          c/o Butler Weihmuller Katz Craig LLP
                                                                                Unliquidated
          18383 Preston RoadSuite 400
          Dallas, TX 75252
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Arthur Anh Nguyen
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Atlas
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ayla Benevides                                                        Contingent
          c/o Matthiesen Wickert & Lehrer, SC
          1111 E Sumner St
                                                                                Unliquidated

          Hartford, WI 53027                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $68,000.00
          Baker Botts                                                         Contingent
          910 Louisana Street                                                 Unliquidated
          Suite 3200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:   Legal Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bamboo Properties, LLC
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Barbara Bassett                                                      Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $824.24
          Bass Toll and Supply, Inc.                                          Contingent
          2300 Fairway Park Dr                                                Unliquidated
          Houston, TX 77092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Benito Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Beronica Tabares
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bibiano Sandoval
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bichdao Nguyen
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Bicholan 1Juyen
          c/o Butler Weihmuller Katz Craig LLP                                 Contingent
          18383 Preston Road                                                   Unliquidated
          Suite 400                                                            Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Blanca Mojica
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Blanca Solorazano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Brenda Alvarado
          c/o Triplett Law Firm                                                Contingent
          1511 Bingle Rd                                                       Unliquidated
          #1                                                                   Disputed
          Houston, TX 77055
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Brenda Pham
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Brenda Rosalinda Figueroa                                             Contingent
          c/o State Farm, Stephanie Moreno
                                         PO
          Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Brian Rego
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Byron Keith House
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Calixto Lopez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Calixto Lopez
          c/o Stutman Law                                                       Contingent
          5068 W. Plano Parkway                                                 Unliquidated
          Suite 260                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Can Ngoc Dang
          c/o Butler Weihmuller Katz Craig LLP                                  Contingent
          18383 Preston Road                                                    Unliquidated
          Suite 400                                                             Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Candy Cabanas and Julia Arroyo
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St                                                     Unliquidated
          #210                                                                  Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Candy Tovar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Carlos Pineda                                                         Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Carmen Gordon                                                         Contingent
          c/o State Farm, Stephanie Moreno
                                         PO
          Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Carole Goff
          c/o Bain & Barkley                                                  Contingent
          14090 Southwest Freeway                                             Unliquidated
          Suite 450                                                           Disputed
          Sugar Land, TX 77478
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Carolyn B. McCain                                                     Contingent
          c/o State Farm, Anthony Truitt
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Catherin Drawsand
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Catherine Laake
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Catherine Norton
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cathryn R. Bottoms
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cecile Speter
          c/o Stutman Law                                                       Contingent
          5068 W. Plano Parkway                                                 Unliquidated
          Suite 260                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Celina Sandoval
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chanh Thai                                                            Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chao Gao
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Charles H. Wilson                                                     Contingent
          c/o State Farm, Teresa Brunett
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chau Nguyen                                                           Contingent
          c/o Centauri Specialty Insurance Company
          1501 Lady St
                                                                                Unliquidated

          Columbia, SC 29201                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chris Le
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chris Manzke                                                          Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chris Santiff
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Christina Thurman
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Christopher Muniz
          c/o Charles J. Argento & Associates                                   Contingent

          1111 North Loop West                                                  Unliquidated

          Suite 715                                                             Disputed
          Houston, TX 77008                                                  Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
                                                                             Is the claim subject to offset?    No  Yes
          Last 4 digits of account number

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chubb Insurance
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cindy Ortega
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Claudia Zuniga
          c/o Littleton Group                                                   Contingent
          521 N Sam Houston Pkwy E                                              Unliquidated
          #400                                                                  Disputed
          Houston, TX 77060
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Colleen Price                                                         Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Constantino Sosa
          c/o Columbia Lloyds Insurance Company                                Contingent
          2200 W Alabama St                                                    Unliquidated
          #210                                                                 Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cornelius Feit
          c/o Butler Weihmuller Katz Craig LLP                                 Contingent
          18383 Preston Road                                                   Unliquidated
          Suite 400                                                            Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Courtyard Westway Homeowners
          Association
          c/o Stutman Law                                                      Contingent
          5068 W. Plano Parkway                                                Unliquidated
          Suite 260                                                            Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Crisoforo Torres                                                     Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cristhian Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          CSAT Investment Holdings
          c/o Butler Weihmuller Katz Craig LLP                                 Contingent
          18383 Preston Road                                                   Unliquidated
          Suite 400                                                            Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cuong Vo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cynthia Isome
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Cynthia Tates
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daisy Lozano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dale C. Battiste
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dan Berry Argo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dana Feaster
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Danh Nguyen
          c/o IAT Insurance Group                                              Contingent
          702 Oberlin Rd                                                       Unliquidated
          First Floor                                                          Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Bravo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Drawsand
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Gutierrez, Jr.
          c/o Anthony Peterson, LLP                                           Contingent
          500 North Water Street                                              Unliquidated
          Suite 1000                                                          Disputed
          Corpus Christi, TX 78401
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniel Juarez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Daniela Cortez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David Diosado
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David Rains
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          David Solorazano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dayeni Garcia                                                        Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                               Unliquidated

          Houston, TX 77092                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Deborah Patten
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Delta Hernandez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Demetris Glenn
          c/o Klitsas & Vercher, PC                                             Contingent
          550 Westcott                                                          Unliquidated
          Suite 570                                                             Disputed
          Houston, TX 77007
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Denis Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Deztini Southall                                                      Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Diana Lopez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Diana Villalpando
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Diem Thi Hoang
          c/o FedNat Adjusting                                                  Contingent
          14050 NW 14th Street                                                  Unliquidated
          Suite 180                                                             Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,690.95
          Direct Bolt and Supply                                              Contingent
          7117 Belgold                                                        Unliquidated
          Suite D                                                             Disputed
          Houston, TX 77066
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Domingo Duron
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Donald Holcomb
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Doris Arias
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Dustyn Boyd                                                           Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eddie V. Garcia                                                       Contingent
          c/o State Farm, Stephanie Moreno
                                         PO
          Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Edith Vaesa
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eduardo Dolpher
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eduardo Flores & Hortensia Lima
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eduardo Soto                                                          Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          EGC Critical Components, LLC                                        Contingent
          8103 Rankin Road                                                    Unliquidated
          Humble, TX 77396                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,026.01
          EGC Enterprises                                                     Contingent
          140 Parker Ct                                                       Unliquidated
          Chardon, OH 44024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elaine Jackson
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elba Lemus
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elba Lemus
          c/o FedNat Adjusting                                                  Contingent
          14050 NW 14th Street                                                  Unliquidated
          Suite 180                                                             Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elissa Patterson
          c/o FedNat Adjusting                                                  Contingent
          14050 NW 14th Street                                                  Unliquidated
          Suite 180                                                             Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elizabeth & Jesus Salazar
          c/o Law Offices of James A. Lawrence                                  Contingent
          150 Decker Ct                                                         Unliquidated
          Suite 150                                                             Disputed
          Irving, TX 75062
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elizabeth Rueda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elizibeth Dubuque
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St                                                     Unliquidated
          #210                                                                  Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ellene Manning
          c/o Stutman Law                                                       Contingent
          5068 W. Plano Parkway                                                 Unliquidated
          Suite 260                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eloy Ortega
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Elvis Sandoval                                                        Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ema Ferrufino                                                       Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          EMAC
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Emily Perez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Emma Rufino                                                         Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Enriqueta Garcia                                                     Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                            Morrisontown, NJ
                                                                               Unliquidated

          07960                                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eric Bravo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Erica Moreno
          c/o O'Malley Law Firm                                                Contingent
          440 Louisiana St                                                     Unliquidated
          Suite 1225                                                           Disputed
          Houston, TX 77002
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Erick Anaya
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Erika Flores
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Erin M. Wallace                                                       Contingent
          c/o State Farm, April Smith
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ernesto Benitez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esmeralda Gonzalez A/N/F of N.M., a Mino
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esmeralda Gonzalez, Individually
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esperanza Tabares
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esqueda
          c/o Sloane and Walsh LLP                                             Contingent
          One Center Plaza                                                     Unliquidated
          8th Floor                                                            Disputed
          Boston, MA 02108
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Estate of Erick Rijan & Vazquez Flores c/
                                                 J                             Contingent
          o State Farm, Stephanie Moreno
          PO Box 106169
                                                                               Unliquidated

          Atlanta, GA 30348                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Esteban Pelcastre                                                   Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ethan Decicco
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Eva Olvera
          c/o Anthony Peterson, LLP                                           Contingent
          500 North Water Street                                              Unliquidated
          Suite 1000                                                          Disputed
          Corpus Christi, TX 78401
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Evelyn Ibarra
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ever Omar Bautista
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fabian Flores                                                       Contingent
          c/o Abraham Watkins Nichols Sorrels Agos
          800 Commerce Street
                                                                              Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Farah Albania
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fasco Fasteners and Supply Company
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Felipe Revuelta
          c/o Potts Law Firm                                                  Contingent
          3737 Buffalo Speedway                                               Unliquidated
          Suite 1900                                                          Disputed
          Houston, TX 77098
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fernanda Pierre
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Field Express Delivery Service LLC
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Flor D. Cubas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Francisca Martins                                                    Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                               Unliquidated

          Houston, TX 77092                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Francisco Olivio
          c/o O'Malley Law Firm                                                Contingent
          440 Louisiana St                                                     Unliquidated
          Suite 1225                                                           Disputed
          Houston, TX 77002
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Franciso Lozano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Frank Peters
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Frank Polk                                                           Contingent
          c/o State Farm, April Smith
          PO Box 106169
                                                                               Unliquidated

          Atlanta, GA 30348                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Freddy Medardo Marinez Sanchez                                       Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Freddy Sanchez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fredy Garcia and Duleylma Perez
          c/o Columbia Lloyds Insurance Company                                Contingent
          2200 W Alabama St                                                    Unliquidated
          #210                                                                 Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Fredy Trujillo
          c/o Charles J. Argento & Associates                                  Contingent

          1111 North Loop West                                                 Unliquidated

          Suite 715                                                            Disputed
          Houston, TX 77008                                                  Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
                                                                             Is the claim subject to offset?    No  Yes
          Last 4 digits of account number

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gabino Saenz                                                         Contingent
          c/o State Farm, Luz Monarrez
          PO Box 106169
                                                                               Unliquidated

          Atlanta, GA 30348                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $195.40
          Garlock Sealing Tech                                                Contingent
          13288 Collection Center Dr                                          Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Genoveva Sandoval                                                     Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Geovera Specialty Insurance
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gerardo Lira                                                          Contingent
          c/o State Farm, Angie Guest
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,994.71
          GHX Industrial LLC                                                  Contingent
          3440 South Sam Houston Parkway                                      Unliquidated
          Suite 300                                                           Disputed
          Houston, TX 77047
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gilbert Orrellana
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gilberto Figueroa
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gilberto Mendoza Cruz and Massiel Nunez,
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gina Gorczynski                                                       Contingent
          c/o State Farm, Stephanie Moreno
                                                                                Unliquidated
          PO Box 106169
          Atlanta, GA 30348
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Gordon Andrus
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          GPM International, Inc.
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $630.19
          Grainger                                                            Contingent
          PO Box 419267                                                       Unliquidated
          Kansas City, MO 64141                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Greg Malloch
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guadalupe Castro
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guadalupe Meza A/N/F of J.S., a minor
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Guadalupe Meza, Individually
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hanh T. Nguyen                                                       Contingent
          c/o State Farm, Stephanie Moreno
                                                                               Unliquidated
          PO Box 106169
          Atlanta, GA 30348
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hector Medellin
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hector Olvera & Maria Ofelia Mondragon
          c/o Anthony Peterson, LLP                                           Contingent
          500 North Water Street                                              Unliquidated
          Suite 1000                                                          Disputed
          Corpus Christi, TX 78401
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hector Silva
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Henry Lindsay
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Herbert Maduro
          c/o Butler Weihmuller Katz Craig LLP                                 Contingent
          18383 Preston Road                                                   Unliquidated
          Suite 400                                                            Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hilda Limas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hoai Pham                                                            Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Homero Regaldo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hossein Sondjani
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Houston Auto Tech, Inc.
          c/o Lassiter Law Firm                                               Contingent
          3120 Southwest Freeway                                              Unliquidated
          Suite 650                                                           Disputed
          Houston, TX 77098
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Houston Corvette Service, Inc.
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Houston Corvette Servies, Inc.
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hung Duc Pham
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Hung Tran                                                             Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,908.16
          Hytorc                                                              Contingent
          12420 Texaco Road                                                   Unliquidated
          Houston, TX 77013                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $917.80
          Industrial Bearing and Services                                     Contingent
          PO Box 41325                                                        Unliquidated
          Houston, TX 77241                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ingrid Miranda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Inmer Jesus Rivas                                                    Contingent
          c/o State Farm, Christine Grisbee
                                                                               Unliquidated
          PO Box 106169                                                        Disputed
          Atlanta, GA 30348
          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Insurers Indemnity Company
          c/o Cozen O'Connor                                                   Contingent
          1221 McKinney St                                                     Unliquidated
          Suite 2900                                                           Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Irlanda Copeland
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Isabel Campoverde
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Isabel Goria-Ruiz
          c/o Butler Weihmuller Katz Craig LLP                                  Contingent
          18383 Preston Road                                                    Unliquidated
          Suite 400                                                             Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Isabella Figueroa
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Isreal Trujillo
          c/o Charles J. Argento & Associates                                   Contingent

          1111 North Loop West                                                  Unliquidated

          Suite 715                                                             Disputed
          Houston, TX 77008                                                  Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
                                                                             Is the claim subject to offset?    No  Yes
          Last 4 digits of account number

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ivan Alvarado
          c/o Triplett Law Firm                                                 Contingent
          1511 Bingle Rd                                                        Unliquidated
          #1                                                                    Disputed
          Houston, TX 77055
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ivan Alvarado, Jr.
          c/o Triplett Law Firm                                                 Contingent
          1511 Bingle Rd                                                        Unliquidated
          #1                                                                    Disputed
          Houston, TX 77055
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ivana Alvarado
          c/o Triplett Law Firm                                                 Contingent
          1511 Bingle Rd                                                        Unliquidated
          #1                                                                    Disputed
          Houston, TX 77055
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jaime Batres                                                         Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jaime Gonzalez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jaime Gonzalez
          c/o Columbia Lloyds Insurance Company                                Contingent
          2200 W Alabama St                                                    Unliquidated
          #210                                                                 Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jair Leal
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          James Bostick
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          James Walker
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jane Doe (a Minor)
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Janet Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jasiah Sessions
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jasmin Serna
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Javier Lopez Herrera
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Javier Martinez
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Javier Martinez & Guadalupe Meza
          c/o Law Offices of James A. Lawrence                                  Contingent
          150 Decker Ct                                                         Unliquidated
          Suite 150                                                             Disputed
          Irving, TX 75062
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jeanne Merritt
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jennifer Isome
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jenny Thu Nguyen                                                      Contingent
          c/o State Farm, Christine Grisbee
                                                                                Unliquidated
          PO Box 106169
          Atlanta, GA 30348
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jerlesa Tates
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jessie Sewel
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joan Doan
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joe Brunson
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johana Macin
          c/o Marty Herring & Associates                                      Contingent
          1616 S. Voss Road                                                   Unliquidated
          Suite 890                                                           Disputed
          Houston, TX 77057
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John & Patricia Bradley
          c/o Law Offices of James A. Lawrence                                  Contingent
          150 Decker Ct                                                         Unliquidated
          Suite 150                                                             Disputed
          Irving, TX 75062
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Baccam
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Dasilva
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Doe (a Minor)
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          John Gilbert Bomba                                                    Contingent
          c/o State Farm, April Smith
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnnie Huynh
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Johnny Villalpando
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Castillo
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Chacon
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Cubas
          c/o KWOK Daniel Ltd, LLP                                              Contingent
          9805 Katy Freeway                                                     Unliquidated
          Suite 850                                                             Disputed
          Houston, TX 77024
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Garcia
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Hernandez
          c/o Littleton Group                                                   Contingent
          521 N Sam Houston Pkwy E                                              Unliquidated
          #400                                                                  Disputed
          Houston, TX 77060
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jorge Pham
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose and Irma Villegas
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St                                                     Unliquidated
          #210                                                                  Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Antonio Ramos Ramirez                                            Contingent
          c/o State Farm, Allen Robertson
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Calderon
          c/o FedNat Adjusting                                                  Contingent
          14050 NW 14th Street                                                  Unliquidated
          Suite 180                                                             Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Calderon
          c/o Triplett Law Firm                                                 Contingent
          1511 Bingle Rd                                                        Unliquidated
          #1                                                                    Disputed
          Houston, TX 77055
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Corral
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose D. Coreas
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Deleon                                                           Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose E. Giron                                                         Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Mata
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Mata
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St                                                     Unliquidated
          #210                                                                  Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Rodriguez                                                        Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Romero
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jose Tovar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joseph Boyd & Robert Singleton
          c/o Law Offices of James A. Lawrence                                  Contingent
          150 Decker Ct                                                         Unliquidated
          Suite 150                                                             Disputed
          Irving, TX 75062
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joseph Cropper
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joseph N. Lynch                                                       Contingent
          c/o State Farm, Christine Grisbee
                                        PO Box
          106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joseph Pham
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joseph Phan                                                           Contingent
          c/o State Farm, Angie Guest
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joy Sessions
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joy Sessions o/b/o Jaylyn Sessions
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joyce Brooks                                                          Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                            Morrisontown, NJ
                                                                                Unliquidated

          07960                                                                 Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joyce Owens
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          JPW Enterprises LLC
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan A. Gutierrez                                                     Contingent
          c/o State Farm, Angie Guest
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan and Alicia Garcia                                                Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan Carlos Trujillo
          c/o Charles J. Argento & Associates                                   Contingent

          1111 North Loop West                                                  Unliquidated

          Suite 715                                                             Disputed
          Houston, TX 77008                                                  Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
                                                                             Is the claim subject to offset?    No  Yes
          Last 4 digits of account number




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan Carlos Trujillo, Jr.
          c/o Charles J. Argento & Associates                                  Contingent

          1111 North Loop West                                                 Unliquidated

          Suite 715                                                            Disputed
          Houston, TX 77008                                                  Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
                                                                             Is the claim subject to offset?    No  Yes
          Last 4 digits of account number

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan Reyes
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan Reyes
          c/o Littleton Group                                                  Contingent
          521 N Sam Houston Pkwy E                                             Unliquidated
          #400                                                                 Disputed
          Houston, TX 77060
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juan Torrest
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Julia Talamantes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Julian De La Riva
          c/o IAT Insurance Group                                              Contingent
          702 Oberlin Rd                                                       Unliquidated
          First Floor                                                          Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Julian Ramirez
          c/o Columbia Lloyds Insurance Company                                Contingent
          2200 W Alabama St                                                    Unliquidated
          #210                                                                 Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Juliassa Ruiz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jung S. Yun
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Jung Yun
          c/o Butler Weihmuller Katz Craig LLP                                Contingent
          18383 Preston Road                                                  Unliquidated
          Suite 400                                                           Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Karen Ford Todd
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Karen Laake
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Karla Rodriguez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kasi Kirby
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kathleen Molina                                                       Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kathy Collins
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kathy Molina
          c/o Stutman Law                                                       Contingent
          5068 W. Plano Parkway                                                 Unliquidated
          Suite 260                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kay Dasilva
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kelly Malady
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kelly Mallady
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ken Holland, Individually and on behalf
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kerry Shirley
          c/o IAT Insurance Group                                              Contingent
          702 Oberlin Rd                                                       Unliquidated
          First Floor                                                          Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kevin Argo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kevin Bonny
          c/o FedNat Adjusting                                                 Contingent
          14050 NW 14th Street                                                 Unliquidated
          Suite 180                                                            Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kevin Vu
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Khanh Nguyen                                                          Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kiln
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kum Sun Song
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kurt Hall
          c/o Butler Weihmuller Katz Craig LLP                                  Contingent
          18383 Preston Road                                                    Unliquidated
          Suite 400                                                             Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Kyle Mathis
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $743.60
          Lamons Gasket Company                                               Contingent
          7300 Airport Blvd                                                   Unliquidated
          Houston, TX 77061                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lan Dao
          c/o Butler Weihmuller Katz Craig LLP                                 Contingent
          18383 Preston Road                                                   Unliquidated
          Suite 400                                                            Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Laquita Earl                                                         Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                               Unliquidated

          Houston, TX 77092                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lashonda M. Henderson
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Laura Ceballos
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lawrence Sepulveda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leonard Lebo o/b/o Pinemont Properties,
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leonardo Fortuno
          c/o Cypress Texas Insurance Company                                   Contingent
          12926 Gran Bay Parkway West                                           Unliquidated
          Suite 200                                                             Disputed
          Jacksonville, FL 32258
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leonel Garcia
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leonor Beltran
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Letha R. Hubbard                                                      Contingent
          c/o State Farm, Angie Guest
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leticia Alarcon
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Leticia Revuelta
          c/o Butler Weihmuller Katz Craig LLP                                  Contingent
          18383 Preston Road                                                    Unliquidated
          Suite 400                                                             Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lidia Harrison
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lililiana Rodriguez                                                   Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Linda Dang
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Linh Nguyen
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Logik Precision Inc                                                   Contingent
          c/o Sentry Insurance
          363 N Sam Houston Pkwy Houston,
                                 E
                                                                                Unliquidated

          TX 77060                                                              Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          London
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Long Nguyen                                                           Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lucero Medellin
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Lue Ann Walter-Enright                                                Contingent
          c/o State Farm, Angie Guest
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luis Carreon
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luis Medellin
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luis Melendez and Merlin Ramos
          c/o Cypress Texas Insurance Company                                  Contingent
          12926 Gran Bay Parkway West                                          Unliquidated
          Suite 200                                                            Disputed
          Jacksonville, FL 32258
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luis Perez Towns Claim No. 20-F127492
                                                                               Contingent
          c/o Columbia Lloyds Insurance Company
          2200 W Alabama St#210                                               Unliquidated

          Houston, TX 77098                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luis Reyes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luz Maria Villa
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Luz Torrez                                                           Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          M. Joyce Mintz                                                       Contingent
          c/o State Farm, Allen Robertson
          PO Box 106169
                                                                               Unliquidated

          Atlanta, GA 30348                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maggie Rivera                                                       Contingent
          c/o Abraham Watkins Nichols Sorrels Agos
          800 Commerce Street
                                                                              Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Manuel Corral
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Marcos Ramos
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Margarita Flores, Individually                                      Contingent
          c/o Abraham Watkins Nichols Sorrels Agos
          800 Commerce Street
                                                                              Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Margarita Flores, Personal Representativ                            Contingent
          c/o Abraham Watkins Nichols Sorrels Agos
          800 Commerce Street
                                                                              Unliquidated
          Houston, TX 77002                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Margarito Zavala
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St#210                                                Unliquidated
          Houston, TX 77098                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Adela Perez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Arismel Trujillo
          c/o Charles J. Argento & Associates                                   Contingent

          1111 North Loop WestSuite 715                                       Unliquidated

          Houston, TX 77008                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Avallaneda
          c/o Charles J. Argento & Associates                                   Contingent

          1111 North Loop WestSuite 715                                       Unliquidated

          Houston, TX 77008                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Barajas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Barrero
          c/o Butler Weihmuller Katz Craig LLP                                  Contingent
          18383 Preston Road                                                    Unliquidated
          Suite 400                                                             Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Battiste
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Blanco
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Del Carmen Rodriguez
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St                                                     Unliquidated
          #210                                                                  Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Diosado
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Duran
          c/o FedNat Adjusting                                                  Contingent
          14050 NW 14th Street                                                  Unliquidated
          Suite 180                                                             Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Escalera                                                        Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Isabel Trejo
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria J. Hernanez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Medellin
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Prudencio                                                       Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Salazar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maria Uriostegui
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maribel and Jose Hernandez
          c/o Cypress Texas Insurance Company                                  Contingent
          12926 Gran Bay Parkway West                                          Unliquidated
          Suite 200                                                            Disputed
          Jacksonville, FL 32258
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Maricela Flores
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mariela Garcia
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Marilyn Cue
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Marilyn Cue                                                          Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mario Ginaldo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mario Ruiz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Marisela Calderon
          c/o Triplett Law Firm                                                 Contingent
          1511 Bingle Rd                                                        Unliquidated
          #1                                                                    Disputed
          Houston, TX 77055
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mark and Nola Jensen
          c/o Law Offices of James A. Lawrence                                  Contingent
          150 Decker Ct                                                         Unliquidated
          Suite 150                                                             Disputed
          Irving, TX 75062
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mark Matthews                                                         Contingent
          c/o State Farm, Angie Guest
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mark Snyder
          c/o Equian                                                            Contingent
          5975 Castle Creek Pkwy                                                Unliquidated
          Suite 100                                                             Disputed
          Indianapolis, IN 46250
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mark Tran
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Marta Isabel Luevano                                                  Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Martha Trejo
          c/o Stutman Law                                                       Contingent
          5068 W. Plano Parkway                                                 Unliquidated
          Suite 260                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Martin Boado
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Martin Esqueda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mary Bostick
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mary Contreras                                                        Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Massiel Nunez
          c/o McMillan Firm, PLLC                                             Contingent
          440 Louisiana Street                                                Unliquidated
          Suite 1200                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Massiel Nunez                                                        Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Matthew Collazo                                                      Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr                                                   Unliquidated

          Houston, TX 77092                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mayra Benitez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mayra Reyes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Melissa Walker
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Melody Doplher
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mervin Albania
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Brookings
          c/o IAT Insurance Group                                              Contingent
          702 Oberlin Rd                                                       Unliquidated
          First Floor                                                          Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Carpino                                                      Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Lauralyn
          c/o Butler Weihmuller Katz Craig LLP                                 Contingent
          18383 Preston Road                                                   Unliquidated
          Suite 400                                                            Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Makris                                                       Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Morrison
          c/o FedNat Adjusting                                                  Contingent
          14050 NW 14th Street                                                  Unliquidated
          Suite 180                                                             Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Salazar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michael Smooke
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Michelle Jimenez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Miguel A. Segovia                                                     Contingent
          c/o State Farm, April Smith
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Miguel Cordero
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Miguel Puente Salazar
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mijah Sessions
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Milagro Ordonez                                                       Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mirian Cruz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Misaez Alvear                                                         Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Mohsen & Kathleen Roohi
          c/o Law Offices of James A. Lawrence                                  Contingent
          150 Decker Ct                                                         Unliquidated
          Suite 150                                                             Disputed
          Irving, TX 75062
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Morgan Lee
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          MSO Seals and Gaskets, Inc
          c/o Law Offices of James A. Lawrence                                 Contingent
          150 Decker Ct                                                        Unliquidated
          Suite 150                                                            Disputed
          Irving, TX 75062
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Myca Nguyen
          c/o Butler Weihmuller Katz Craig LLP                                 Contingent
          18383 Preston Road                                                   Unliquidated
          Suite 400                                                            Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Myra Jefferson
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Natalie Boughal                                                      Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nathan Decicco
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nelly Zelaya
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nelson Dos Santos
          c/o FedNat Adjusting                                                 Contingent
          14050 NW 14th Street                                                 Unliquidated
          Suite 180                                                            Disputed
          Sunrise, FL 33323
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nestor Javier Gonzalez Velazquez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Nguyen Hoang
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Noe Cruz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Noe Rodriguez                                                        Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                               Unliquidated

          Houston, TX 77092                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Normajean Paula Hernandez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $58,000.00
          Norton Rose Fullbright                                              Contingent
          1301 McKinney Street                                                Unliquidated
          Suite 1500                                                          Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Legal Fees
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Odess Marie James House
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Olivia Flores
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Omar Cruz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Oneida Talamantes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Oscar Betancourt
          c/o Stutman Law                                                       Contingent
          5068 W. Plano Parkway                                                 Unliquidated
          Suite 260                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Otilia Arjona
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pablo Lopez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pamela Robertson
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Paola Chazarreta
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Paola G. Chazarreta
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Patricia C. Sheddan                                                   Contingent
          c/o State Farm, Teresa Brunett
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Patricia Cervantes
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Patricia Partales
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Patricio Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Paul Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pedro Arjona
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Pedro Garcia                                                          Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Peter Arjona
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Phillip Burnam                                                        Contingent
          c/o Nguyen Chen LLP
          11200 Westhemer Rd
                                                                                Unliquidated

          Houston, TX 77042                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Phong Nguyen
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Prabhat Sharma
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Priscilla D. Rios                                                     Contingent
          c/o State Farm, Angie Guest
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Process Plants International                                           Contingent
          13 Link Crescent                                                       UnliquidateG
          Coolum Beach, Queensland 4573                                       Disputed
          Australia
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          PT Huayue Nickel Cobalt                                             Contingent
          Gedung Wisma Mulia Lt.41 Jl. Jend Gatot
          Subroto No. 42 Kuningan Barat, Mampang
                                                                              Unliquidated
          Prapatan. 12710 Jakarta, Indonesia                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Unearned Revenue
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Quest IRA Inc FBO Grant Farrelly
          c/o Littleton Group                                                   Contingent
          521 N Sam Houston Pkwy E                                              Unliquidated
          #400                                                                  Disputed
          Houston, TX 77060
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ramiro Zuniga                                                         Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ramon Cortez (Individually and on behalf                            Contingent
          c/o Mostyn Law
          3810 West Alabama Street
                                                                              Unliquidated
          Houston, TX 77027                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ramsey & Company   c/                                                 Contingent
          o Sentry Insurance
          363 N Sam Houston Pkwy E
                                                                                Unliquidated

          Houston, TX 77060                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rangel Gerardo
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St#210                                                Unliquidated
          Houston, TX 77098                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rebeca Juan
          c/o Charles J. Argento & Associates                                   Contingent

          1111 North Loop West                                                  Unliquidated

          Suite 715                                                             Disputed
          Houston, TX 77008                                                  Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
                                                                             Is the claim subject to offset?    No  Yes
          Last 4 digits of account number

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name


 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rebecca McKeehan
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Reymundo Ceballos
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Reyna Malerva Torres
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rhythm Room Rehersal Studio, Inc.c/
          o Stutman Law                                                        Contingent
          5068 W. Plano Parkway                                                Unliquidated
          Suite 260                                                            Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ricardo Carreon                                                     Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ricardo Reyes
          c/o IAT Insurance Group                                              Contingent
          702 Oberlin Rd                                                       Unliquidated
          First Floor                                                          Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Richard Gannon
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rigoberto Miranda Jr.
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St                                                     Unliquidated
          #210                                                                  Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rigoberto Miranda, Jr.
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rita Rivera
          c/o O'Malley Law Firm                                                 Contingent
          440 Louisiana St                                                      Unliquidated
          Suite 1225                                                            Disputed
          Houston, TX 77002
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rivis Husband
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Robert Ojeda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Roberto A. Aguilar-Aviles                                             Contingent
          c/o State Farm, Angie Guest
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Roberto Hernandez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rochelle Feaster
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rodriguez Clementina Izaguirre
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ronald Gonzalez                                                       Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosalba Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosalba Mendieta
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosalie Holland
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosalie Holland                                                       Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rosaura Calix
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rose Avitia                                                         Contingent
          c/o Law Offices of Manuel Solis, PC
          6657 Navagation Boulevard
                                                                              Unliquidated
          Houston, TX 77011                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rotimi Martins                                                        Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Rozalinda Gomez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Ryan Hess
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Salvador Morales
          c/o Columbia Lloyds Insurance Company                                 Contingent
          2200 W Alabama St                                                     Unliquidated
          #210                                                                  Disputed
          Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Samuel Ruffino                                                        Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Santos Escobar
          c/o The Woodlands Insurance Company                                   Contingent
          1201 Lake Woodlands Drive                                             Unliquidated
          Suite 4020                                                            Disputed
          Woodlands, TX 77380
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sara Avila
          c/o Butler Weihmuller Katz Craig LLP                                  Contingent
          18383 Preston Road                                                    Unliquidated
          Suite 400                                                             Disputed
          Dallas, TX 75252
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sara G. Darrow
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sara Gloria
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Score Valve Services Inc.                                           Contingent
          6410 Langfield Road                                                 Unliquidated
          Building B                                                          Disputed
          Houston, TX 77092
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sean Robert Rangel
          c/o Fernelius Simon Mace Robertson Perdu                            Contingent
          4119 Montrose Boulevard                                             Unliquidated
          Suite 500                                                           Disputed
          Houston, TX 77006
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sebastijan Berenji
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sergio Cruz
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sergio Cruz, Jr.
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Silvia Arevalo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sindy Sanchez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Skylar Douglas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sofia Perez Hoill                                                     Contingent
          c/o State Farm, Christine Grisbee
                                        PO Box
          106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sophie Lindsay
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sotaura Tyler
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stacy Argo
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Star Time Supply Co, Inc                                              Contingent
          c/o The Hanover Insurance Group
          10375 Richmond Ave
                                                                                Unliquidated

          Houston, TX 77042                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          State Auto Insurance
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Steven Reagle
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Steven Titley & Imelda Barrerra
          c/o Law Offices of James A. Lawrence                                  Contingent
          150 Decker Ct                                                         Unliquidated
          Suite 150                                                             Disputed
          Irving, TX 75062
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Steven Tong
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Steven Tran
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Stingray Energy, LLC
          c/o Terry & Thweatt PC                                              Contingent
          One Greenway Plaza                                                  Unliquidated
          Suite 100                                                           Disputed
          Houston, TX 77046
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,978.60
          Suhm Spring Works, Ltd                                              Contingent
          14650 Heathrow Forest Parkway                                       Unliquidated
          Houston, TX 77032                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sulma Berjano
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,737.65
          Surface Preparation                                                 Contingent
          5973 South Loop East                                                Unliquidated
          Houston, TX 77033                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Susan Lopez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name


 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Susie Brunson, as next friend of Bylan B
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Susie Brunson, Individually
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          SWYFFT
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Sylvia Garza
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tae Kim
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tan Truong
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tasha Felder, Individually and on Behalf
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tatiana Martinez
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,081.43
          Teadit                                                              Contingent
          10545 Red Bluff Road                                                Unliquidated
          Pasadena, TX 77507                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Terri Sepluveda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Texas Environmental Control, Inc.
          c/o White and Williams, LLP                                           Contingent
          1650 Market Street, One Liberty Place                                 Unliquidated
          Suite 1800                                                            Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          The Estate of Donald B. Carlin                                        Contingent
          c/o State Farm, Luz Monarrez
          PO Box 106169
                                                                                Unliquidated

          Atlanta, GA 30348                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          The Nut Place                                                       Contingent
          6605 Gessner Road                                                   Unliquidated
          Houston, TX 77040                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Theresa Muir
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tina Do
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tina Tran
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tokio Marine
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tommy Vo                                                              Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tracy Stephenson
          c/o Stutman Law                                                       Contingent
          5068 W. Plano Parkway                                                 Unliquidated
          Suite 260                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tran Huynh                                                            Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Travis Horton
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Trivia Douglas
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tuyet Do
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,294.38
          U-Line, Inc.                                                        Contingent
          2200 S. Lakeside Drive                                              Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $600.00
          Universe Technical Translate                                        Contingent
          9225 Katy Freeway                                                   Unliquidated
          Suite 400                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          UPC Insurance
          c/o Cozen O'Connor                                                    Contingent
          1221 McKinney St                                                      Unliquidated
          Suite 2900                                                            Disputed
          Houston, TX 77010
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Van Nguyen                                                           Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                               Unliquidated

          Houston, TX 77092                                                    Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,221.41
          Vanaire Inc                                                         Contingent
          840 Clark Drive                                                     Unliquidated
          Gladstone, MI 49837                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Veit Tran
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Veronic Jimenez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victor Guzman                                                        Contingent
          c/o State Farm, Christine Grisbee
                                                                               Unliquidated
          PO Box 106169
          Atlanta, GA 30348
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victor Quijada                                                       Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                               Unliquidated

          Morrisontown, NJ 07960
                                                                               Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victoria Chavez
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victoria Ontoya-Torres
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Victoria Wells
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Wanda Meyer
          c/o Stutman Law                                                       Contingent
          5068 W. Plano Parkway                                                 Unliquidated
          Suite 260                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Watson Grinding and Manufacturing Co.                               Contingent
          4525 Gessner Road                                                   Unliquidated
          Houston, TX 77041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable balance & Intercompany Payable
          Last 4 digits of account number                                    balance
                                                                             Is the claim subject to offset?    No  Yes
 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Watson Valve Services Australia                                        Contingent
          13 Link Cresent                                                        UnliquidateG
          Coolum Beach, Queensland 4573                                       Disputed
          Australia                                                          Basis for the claim:
          Date(s) debt was incurred
                                                                             Is the claim subject to offset?    No  Yes
          Last 4 digits of account number

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Wendy Honda
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Wendy Nguyen
          c/o KWOK Daniel Ltd, LLP                                            Contingent
          9805 Katy Freeway                                                   Unliquidated
          Suite 850                                                           Disputed
          Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Westport Shores LLC
          c/o IAT Insurance Group                                               Contingent
          702 Oberlin Rd                                                        Unliquidated
          First Floor                                                           Disputed
          Raleigh, NC 27605
                                                                             Basis for the claim:   Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          William Walingsford
          c/o Buzbee Law Firm                                                 Contingent
          JP Morgan Chase Tower, 600 Travis Street                            Unliquidated
          Suite 7300                                                          Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Wilmer Rivera                                                         Contingent
          c/o Swyfft Insured
          44 Headquarters Plaza
                                                                                Unliquidated

          Morrisontown, NJ 07960
                                                                                Disputed

          Date(s) debt was incurred
                                                                             Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Yesenia Ayala, as Next Fried of I.C. and                            Contingent
          c/o Byron C. Alfred
          2019 Wichita Street
                                                                              Unliquidated
          Houston, TX 77004                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Yesica Alvear                                                         Contingent
          c/o The Dick Law Firm, PLLC
          3701 Brookwoods Dr
                                                                                Unliquidated

          Houston, TX 77092                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:   Litigation Claimant
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Watson Valve Services, Inc.                                                             Case number (if known)            20-30968
              Name

 3.564     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yessica Gonzalez
           c/o KWOK Daniel Ltd, LLP                                           Contingent
           9805 Katy Freeway                                                  Unliquidated
           Suite 850                                                          Disputed
           Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.565     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yolanda Wells
           c/o KWOK Daniel Ltd, LLP                                           Contingent
           9805 Katy Freeway                                                  Unliquidated
           Suite 850                                                          Disputed
           Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.566     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yoloanda Navarro
           c/o Buzbee Law Firm                                                Contingent
           JP Morgan Chase Tower, 600 Travis Street                           Unliquidated
           Suite 7300                                                         Disputed
           Houston, TX 77002
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.567     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yousef Abdulla
           c/o Lassiter Law Firm                                              Contingent
           3120 Southwest Freeway                                             Unliquidated
           Suite 650                                                          Disputed
           Houston, TX 77098
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.568     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Zacarias Chacon
           c/o KWOK Daniel Ltd, LLP                                           Contingent
           9805 Katy Freeway                                                  Unliquidated
           Suite 850                                                          Disputed
           Houston, TX 77024
                                                                             Basis for the claim:    Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.569     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Zulema Patricia Perez
           c/o Columbia Lloyds Insurance Company                                Contingent
           2200 W Alabama St                                                    Unliquidated
           #210                                                                 Disputed
           Houston, TX 77098
                                                                             Basis for the claim:   Litigation Claimant
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

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 Debtor       Watson Valve Services, Inc.                                                         Case number (if known)        20-30968
              Name


           Name and mailing address                                                              On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     60,964.61
 5b. Total claims from Part 2                                                                       5b.   +   $                    896,037.08
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                       957,001.69




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